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0 R | Gl N A L IN THE UNITED STATES DISTRICE COURT E
FOR THE NORTHERN DISTRICT GF TEXAS oon 7 908

 

 

 

 

 

DALLAS DIVISION 2

,  CLERK,US.DISTRICTCOURT |
UNITED STATES OF AMERICA NO. | by US

vaty
Vv.
DANIEL JENKINS (01) @ SR- 40 6 -
MICHAEL ATKINSON (02) 8-1 | 8C 6-K

INDICTMENT
The Grand Jury charges that:
Count One

Conspiracy to Commit Hate Crimes, Kidnapping, and Carjacking
(in violation of 18 U.S.C. § 371)

Introduction
1. John Doe | is a 57 year-old male. John Doe 2 is a 20 year-old male. John Doe 3 is a
19 year-old male. John Doe 4 is a 19 year-old male. John Doe 5 is a 29 year-old
male. John Doe 6 is a 37 year-old male. John Doe 7 is a 20 year-old male.
2. In December of 2017, John Does 1 through 7 used Grindr.
3. Grindr was a cellular telephone application that calls itself “the World’s Largest
Social Networking App for Gay, Bi, Trans, and Queer People.”
4: At all times relevant to this offense, Apartment #186 was a vacant apartment at the

Solana Ridge Apartment Complex in Dallas, Texas.

The Charge
Beginning in or around the first week of December 2017, and continuing

thereafter up to and including December 12, 2017, in the Northern District of Texas,

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Daniel Jenkins and Michael Atkinson, the defendants, did knowingly and willfully
combine, conspire, and agree with each other, and with others known and unknown to the
Grand Jury, to commit the following offenses against the United States, as charged in the
remaining counts of the indictment and incorporated herein:

a. to willfully cause bodily injury to, or through the use of a firearm or dangerous
weapon attempt to cause bodily injury to, any person because of the actual or
perceived sexual orientation of any person, in violation of 18 U.S.C.

§ 249(a)(2);

b. to unlawfully and willfully seize, confine, kidnap, inveigle, decoy, abduct, or
carry away and hold for ransom or reward or otherwise, and use a means,
facility, or instrumentality of interstate or foreign commerce, to-wit, a cellular
telephone, a cellular telephone application (“app”), and the internet, in
committing and in furtherance of the commission of the offense, in violation of
18 U.S.C. § 1201(a)(1); and

c. with the intent to cause death or serious bodily harm, to take, or attempt to
take, from the person or presence of another, by force and violence and by
intimidation, a motor vehicle that had been transported, shipped, or received in
interstate or foreign commerce, in violation of 18 U.S.C. § 2119.

Plan and Purpose of the Conspiracy
The plan and purpose of the conspiracy was to use Grindr, a dating app, to create

fake profiles and pose as gay men interested in “dates” to lure gay men to the Solana

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Ridge Apartment Complex and areas in and around Dallas, Texas in order to commit
violent crimes against them, including kidnapping, assault, robbery, and carjacking.
Overt Acts
In furtherance of the conspiracy, and to accomplish the objects thereof, members
of the conspiracy committed, and caused to be committed, the following overt acts,
among others, within the Northern District of Texas:
1. Onor about December 7, 2017, at least one member of the conspiracy used
Grindr to lure John Doe 1 to the Solana Ridge Apartments in Dallas, Texas.
2. On or about December 7, 2017, a member of the conspiracy pointed a
handgun at John Doe 1, and demanded his property.
3. Onor about December 8, 2017, at least one member of the conspiracy used
Grindr to lure John Doe 2, to the Solana Ridge Apartments in Dallas, Texas.
4. On or about December 8, 2017, a member of the conspiracy pointed a gun at
John Doe 2, and demanded his property.
5. Onor about December 8, 2017, a member of the conspiracy hit John Doe 2 in
the head with an object.
6. On or about December 11, 2017, at least one member of the conspiracy used
Grindr to lure men to areas in and around Dallas, Texas, including the Solana
Ridge Apartment Complex.
7. Onor about December 11, 2017, Jenkins met men at their cars and invited

them into Apartment #186.

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8. On or about December 11, 2017, Atkinson brought a handgun to Apartment
#186.

9. On or about December 11, 2017, Jenkins pointed a handgun toward at least
one man inside of Apartment #186.

10. On or about December 11, 2017, Jenkins used force and threats of force to
hold at least one man inside of Apartment #186.

11. On or about December 11, 2017, at least one member of the conspiracy
physically assaulted John Doe 3 inside Apartment #186.

12. On or about December 11, 2017, J enkins physically assaulted John Doe 4
and called John Doe 4 gay slurs inside Apartment #186.

13. Onor about December 11, 2017, at least one member of the conspiracy
sexually assaulted at least one of the men being held in Apartment #1 86, to-
wit, John Doe 4.

14. On or about December 11, 2017, at least one member of the conspiracy
physically assaulted John Doe 5 inside Apartment #186.

15. On or about December 11, 2017, Atkinson traveled to John Doe 5’s house in
order to take property from John Doe 5.

16. On or about December 11, 2017, Jenkins physically assaulted John Doe 6
and called John Doe 6 gay slurs inside Apartment #186.

All in violation of 18 U.S.C. § 371.

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Count Two
Hate Crime Acts; Aiding and Abetting
(In violation of 18 U.S.C. §§ 249(a)(2) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins, the defendant, aided and abetted by others known and unknown to the Grand
Jury, did willfully cause bodily injury to John Doe 3, by assaulting John Doe 3, because
of John Doe 3’s actual or perceived sexual orientation. The offense included kidnapping,
and Daniel Jenkins, aided and abetted by others known and unknown to the Grand jury,
did use a channel, facility, or instrumentality of interstate or foreign commerce, to-wit: a
cellular telephone, a cellular telephone application (“app”’), and the internet, in

connection with the conduct described herein.

All in violation of 18 U.S.C. §§ 249(a)(2) and 2.

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Count Three
Hate Crime Acts; Aiding and Abetting
(In violation of 18 U.S.C. §§ 249(a)(2) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins, the defendant, aided and abetted by others known and unknown to the Grand
Jury, did willfully cause bodily injury to John Doe 4, by assaulting John Doe 4, because
of John Doe 4’s actual or perceived sexual orientation. The offense included kidnapping,
and Daniel Jenkins, aided and abetted by others known and unknown to the Grand Jury,
did use a channel, facility, or instrumentality of interstate or foreign commerce, to-wit: a
cellular telephone, a cellular telephone application (“app”), and the internet, in

connection with the conduct described herein.

All in violation of 18 U.S.C. §§ 249(a)(2) and 2.

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Count Four
Hate Crime Acts; Aiding and Abetting
(In violation of 18 U.S.C. §§ 249(a)(2) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins, the defendant, aided and abetted by others known and unknown to the Grand
Jury, did willfully cause bodily injury to John Doe 5, by assaulting John Doe 5, because
of John Doe 5’s actual or perceived sexual orientation. The offense included kidnapping,
and Daniel Jenkins, aided and abetted by others known and unknown to the Grand Jury,
did use a channel, facility, or instrumentality of interstate or foreign commerce, to-wit: a
cellular telephone, a cellular telephone application (“app”), and the internet, in

connection with the conduct described herein.

All in violation of 18 U.S.C. §§ 249(a)(2) and 2.

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Count Five
Hate Crime Acts; Aiding and Abetting
(In violation of 18 U.S.C. §§ 249(a)(2) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins, the defendant, aided and abetted by others known and unknown to the Grand
Jury, did willfully cause bodily injury to John Doe 6, by assaulting John Doe 6, because
of John Doe 6’s actual or perceived sexual orientation. The offense included kidnapping,
and Daniel Jenkins, aided and abetted by others known and unknown to the Grand Jury,
did use a channel, facility, or instrumentality of interstate or foreign commerce, to-wit: a
cellular telephone, a cellular telephone application (“app”), and the internet, in

connection with the conduct described herein.

All in violation of 18 U.S.C. §§ 249(a)(2) and 2.

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Count Six
Kidnapping; Aiding and Abetting
(in violation of 18 U.S.C. §§ 1201(a)(1) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins and Michael Atkinson, the defendants, aided and abetted by each other and by
others known and unknown to the Grand Jury, did unlawfully and willfully seize,
confine, inveigle, kidnap, abduct, and carry away and hold John Doe 3 for ransom or
reward or otherwise, and did use a means, facility, or instrumentality of interstate or
foreign commerce, to-wit: a cellular telephone, a cellular telephone application (“app”),

and the internet, in committing and in furtherance of the commission of the offense.

All in violation of 18 U.S.C. §§ 1201(a)(1) and 2.

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Count Seven
Kidnapping; Aiding and Abetting
(In violation of 18 U.S.C. §§ 1201(a)(1) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins and Michael Atkinson, the defendants, aided and abetted by each other and by
others known and unknown to the Grand Jury, did unlawfully and willfully seize,
confine, inveigle, kidnap, abduct, and carry away and hold John Doe 4 for ransom or
reward or otherwise, and did use a means, facility, or instrumentality of interstate or
foreign commerce, to-wit: a cellular telephone, a cellular telephone application (“app”),

and the internet, in committing and in furtherance of the commission of the offense.

All in violation of 18 U.S.C. §§ 1201(a)(1) and 2.

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Count Eight
Kidnapping; Aiding and Abetting
(in violation of 18 U.S.C. §§ 1201(a)(1) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins and Michael Atkinson, the defendants, aided and abetted by each other and by
others known and unknown to the Grand Jury, did unlawfully and willfully seize,
confine, inveigle, kidnap, abduct, and carry away and hold John Doe 5 for ransom or
reward or otherwise, and did use a means, facility, or instrumentality of interstate or
foreign commerce, to-wit: a cellular telephone, a cellular telephone application (“app”),

and the internet, in committing and in furtherance of the commission of the offense.

All in violation of 18 U.S.C. §§ 1201(a)(1) and 2.

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Count Nine
Kidnapping; Aiding and Abetting
(in violation of 18 U.S.C. §§ 1201(a)(1) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins and Michael Atkinson, the defendants, aided and abetted by each other and by
others known and unknown to the Grand Jury, did unlawfully and willfully seize,
confine, inveigle, kidnap, abduct, and carry away and hold J ohn Doe 6 for ransom or
reward or otherwise, and did use a means, facility, or instrumentality of interstate or |
foreign commerce, to-wit: a cellular telephone, a cellular telephone application (“app”),

and the internet, in committing and in furtherance of the commission of the offense.

All in violation of 18 U.S.C. §§ 1201(a)(1) and 2.

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Count Ten
Kidnapping; Aiding and Abetting
(In violation of 18 U.S.C. §§ 1201(a)(1) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins and Michael Atkinson, the defendants, aided and abetted by each other and by
others known and unknown to the Grand Jury, did unlawfully and willfully seize,
confine, inveigle, kidnap, abduct, and carry away and hold John Doe 7 for ransom or
reward or otherwise, and did use a means, facility, or instrumentality of interstate or
foreign commerce, to-wit: a cellular telephone, a cellular telephone application (“app”),

and the internet, in committing and in furtherance of the commission of the offense.

All in violation of 18 U.S.C. §§ 1201(a)(1) and 2.

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Count Eleven
Carjacking; Aiding and Abetting
(In violation of 18 U.S.C. §§ 2119 and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins and Michael Atkinson, the defendants, aided and abetted by each other and by
others known and unknown to the Grand Jury, with the intent to cause death or serious
bodily harm, did take a motor vehicle that had been transported, shipped, and received in
interstate or foreign commerce, to-wit: a 2017 Nissan Altima bearing a vehicle
identification number (VIN) with the last four digits of 6642, from the person or presence

of another, namely, John Doe 4, by force and violence and by intimidation.

All in violation of 18 U.S.C. §§ 2119 and 2.

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Count Twelve
Using, Carrying, and Brandishing a Firearm During and in Relation to, and
Possessing and Brandishing a Firearm in Furtherance of, a Crime of Violence;
Aiding and Abetting
(In violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2)

On or about December 11, 2017, in the Northern District of Texas, Daniel
Jenkins, the defendant, aided and abetted by others known and unknown to the Grand
Jury, did knowingly use, carry, and brandish a firearm, to-wit: a handgun, during and in
relation to a crime of violence, to-wit: carjacking, in violation of 18 U.S.C. § 2119, as
alleged in Count Eleven of this indictment, for which the defendant may be prosecuted in
a court of the United States, and the defendant, aided and abetted by others known and
unknown to the Grand Jury, did knowingly possess and brandish said firearm in

furtherance of the commission of this offense.

In violation of 18 U.S.C. §§ 924(c)(1)(A)(ii) and 2.

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A TRUE BILL

 

 

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

DANIEL JENKINS (01)
MICHAEL ATKINSON (02)

 

INDICTMENT

| 18 U.S.C. § 371
Conspiracy to Commit Hate Crimes, Kidnapping, and Carjacking
(Count 1)

18 U.S.C. §§ 249(a)(2) and 2
Hate Crime Acts
(Counts 2-5)

18 U.S.C. §§ 1201(a)(1) and 2
Kidnapping
(Counts 6-10)

18 U.S.C. §§ 2119 and 2 —
Carjacking
(Counts 11)

18 U.S.C. §§ 924(c) and 2
Use, Carry, Brandish and Possess Firearms During, and in Relation to, and in Furtherance

of a Crime of Violence
(Count 12)

12 Counts

A true bill rendered v4 rx

DALLAS FOREPERSON

 

 

 

Filed in open court this 7th day of August, 2018.
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Warrants to Issue

 

 

UNITED A J JUDGE
No Criminal vse er Pending
